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AO 91 (`Rev§S/O,l) C_iiniiiinl€omp|ainl.

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UNlTED ST`ATES OF AMERICA `
V'- » »CRIM_?ISNAL C'OM]?LAINT
J.ose Bonil|a ~

k `Ca"s_e~Nu¢nl'b/er: M-1.8j-1485-M
AKA': Jose.Saul Boni|la ‘

lAE' YOB':k 1985
El Sailvado`r

(Nn111ennd Addrc:ss Qf-Qg`t`_cnd_nnl)
l, the undersigned eompl_ajinant being du ly sworn ’state¢the~, following is true and correct to»-thejbest of my
knowledge and belief On or about Julv 21, 201'8~ in Sta`rr' . COUhty, in

ti'le~ /Southel'n` Distrli~:! O`f T§`x § §

(Trac/c'S'taml'o/'y Langudge` ofOffer/s_"e) 1

being then and there an alien Who had p1eviously been depo1ted 1`1on1 the Unit'e`d S_tj.lte`s to El Salvador 11_1 pursu‘m
thereafte1 was found near Rio Gl ande City, Texas, within t_h'e Soutlie"1 n` Distriet 0'1`Tefx2cs, the Attorney Gene‘ral s
-~and/or the Secl etal y of Hom;eland Seeurity', not tl1ereto'1"01 e having consented to a reapphcatmn by the defendant for admlsslonmto
the United States;

  

in violation of Title 8 United States Code, Seetion(`s) 1326 (F,'ei`ony,)
I further state that l am a(n) Seniol Patrol Agent and that this complaint is based on the
following facts'.

Jose Bonilla was encountered by 801 der Patrol Age11ts near Rio Glande City,~ Tex'as on July 21 2018. The111vest1g21t111g agent
established that the Defendan_t was 2111 undocumented alien and 1equeste`d recoid checks The Defendont claims to have illegally
ente1ed the Unit`ed States on duly 2-,] ~'2018, near Rio Grande Cit~y, Texas. Recold checks revealed the Defeudant was formally
Deportc'd/Excluded from the United States 011 May 09, 2018 through El P2iso, Texgs;~ P1 1011 to Depoxtatwn/Excluslon the De_fendm)t
was inst1 uc`te_d not to 1`e_tu1 11 to the U,n`it_ed States without permission from the U S. A`ttolney Gene'1211 and/or the` S`ee) etaly 'o'f
H'omeland_ Sccunty ®n June 09_, 2018 the D`efendant"was convicted 018 U.SC 1326 illegal Re- Ent\y_ aftei Depo,rtation and was
sentenced `to five (S) ye`ms probation.

` l declare under penalty 'of perjury thatl the statements in this complaint are;tl'ue'and correct Exe`cu't_ed on '.']jiil:y_Z`.?.`,l’ZO]§S:

. `Continued on the attached-sheet and made".a pan of this compiai`nt`: [:‘Ye"s~ .NQ
Subri\|t§ed by` reliable electronic means, sworn 'to and attested to telephonlcally
per Fed. R._C_r. P.'4.~1, and ;prob`abie cause found or\: . _ _ __ _

/s/ Mlckel Gonzalez

`»S.worn to befor~;erne~and‘subscribed in mypresence, _ .Signa‘tiire ofc`dniolalnant, .
July; 22~,`,20`1:8 @ 2234 D.m. _ Mickei.Gonzo|o`z __ . ',,S`enior Pa`tro|;A"§ont

n

 

 

Juan F. Alanis , U.'S=..Ma§Listrate»,Judge
'Neii‘n“e` and Titlé Of Judi¢ié| Officel'

 

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